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 7

 8                             UNITED STATES DISTRICT COURT
 9                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
     MICHAEL JACKSON and TORY                       Case No. 3:19-CV-1427 LAB BGS
11   SMITH,
                                                    TEAMSTERS LOCAL 2010’S
12                                    Plaintiffs,   MEMORANDUM OF POINTS &
                                                    AUTHORITIES IN SUPPORT OF
13                        v.                        MOTION TO DISMISS COMPLAINT
14   JANET NAPOLITANO, in her official              Hearing Date:   November 12, 2019
     capacity as President of the University of     Hearing Time:   11:30 a.m.
15   California; TEAMSTERS LOCAL 2010;              Courtroom:      14-a
     XAVIER BECERRA, in his official                Judge:          Hon. Larry Alan
16   capacity as Attorney General of the State                      Burns
     of California; and BETTY T. YEE, in her        Complaint
17   official capacity as Controller of the State   Filed:          July 30, 2019
     of California,                                 Trial Date:     None set
18
                                   Defendants.
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 1                                       INTRODUCTION
 2         Plaintiffs bring claims against their employer, the University of California
 3   (herein “the University”), the Union that represents them in that employment,
 4   Teamsters Local 2010 (herein “Local 2010” or “the Union”), and the Attorney General
 5   and Controller of California. The Complaint contains five causes of action. Count I
 6   alleges that Defendants have violated Plaintiffs’ Constitutional rights by “requiring”
 7   them to pay dues to the Union. Counts II and III seek a declaratory order declaring
 8   unspecified provisions of California’s 2018 Senate Bill 866 (herein “SB 866”) to be
 9   invalid as unconstitutionally interfering with Plaintiffs’ alleged right to receive
10   information from the University and their right to speak to the University. And Counts
11   IV and V seek an order declaring unspecified provisions of SB 866 invalid as
12   unconstitutionally depriving Plaintiffs of procedural and substantive due process.
13         We show below that Plaintiffs lack standing to bring the claims found in Count
14   I, that the U.S. Supreme Court’s decision in Janus v. AFSCME, Council 31, 138 S. Ct.
15   2448 (2018) does not entitle Plaintiffs to a retroactive refund of fees paid Local 2010,
16   and that Janus does not entitle Plaintiff Smith to renege on his contractual obligations
17   to the Union. We show also that the Complaint fails to state any cause of action to
18   invalidate any portion of SB 866.
19                          STATEMENT OF RELEVANT FACTS
20         The following facts relevant to this Motion are alleged in the Complaint and are
21   assumed to be true solely for purposes of this Motion.
22         Plaintiffs Michael Jackson and Tory Smith are both employed by the University
23   of California San Diego (herein “the University”). Jackson began his employment
24   with the University in 2013, and Smith began in 2006. (Compl. ¶¶ 21, 41, 43.) Both
25   Plaintiffs joined Local 2010 as members when they were hired by the University.
26   (Compl. ¶¶ 25, 45.) Both Plaintiffs’ “thought” that they had to join the Union as a
27   condition of employment, although no one ever so advised them. (Compl. ¶¶ 24, 44.)
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 1         On an unspecified date in 2018, Jackson asked an unidentified University
 2   “Human Resources employee” how he could resign from the Union. That employee
 3   “refused to speak to Jackson about resigning from Local 2010 or any aspects of union
 4   membership,” and instead “advised Jackson to go to the union with his questions.”
 5   (Compl. ¶¶ 27-29.) Jackson then, by letter dated January 23, 2019, advised the Union
 6   that he wished to terminate his membership in Local 2010, wanted the Union to
 7   discontinue University deduction of dues from his paychecks, and wanted the Union to
 8   refund all “fees” deducted since the Supreme Court issued its decision in Janus.
 9   (Compl. ¶ 30.) The Union replied by letter dated February 7, 2019. In that letter,
10   Local 2010 advised that Jackson’s resignation from Union membership had been
11   processed, but also pointed out that Jackson remained bound by his fee-deduction
12   authorization dated July 7, 2016, which obligates him to continue paying fees to the
13   Union through payroll deduction until the expiration of the current collective
14   bargaining agreement (“CBA”) with the University. (Compl. ¶ 31, Exh. C.)
15         Jackson denies that he signed the July 7, 2016, fee-deduction authorization,
16   although he does not allege that he so advised the Union in response to the Union’s
17   February 7, 2019 letter. (Compl. ¶ 32.)
18         By letter dated March 20, 2019, Jackson asked the University to stop deducting
19   fees from his paycheck. The University responded by email on March 28, 2019, “Due
20   to a new law passed on June 27, 2018 (Senate Bill 866) all inquiries regarding your
21   status as Union Member, Fees Payer or Conscientious objector must be referred to
22   your Union.” (Compl. ¶¶ 33-34, Exh. F.)
23         Smith by letter dated February 19, 2019, advised the Union that he wished to
24   terminate his membership in Local 2010, wanted the Union to discontinue University
25   deduction of dues from his paychecks, and wanted the Union to refund all “fees”
26   deducted since the Supreme Court issued its decision in Janus. (Compl. ¶ 47, Exh. G.)
27   The Union replied by letter dated February 27, 2019. In that letter, Local 2010 advised
28   that Smith’s resignation from Union membership had been processed, but also pointed
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 1   out that Jackson remained bound by his fee-deduction authorization dated April 8,
 2   2016. That authorization, like that the Union referred to in response to Plaintiff
 3   Jackson’s tender of resignation, obligates Smith to continue paying fees to the Union
 4   through payroll deduction until the expiration of the current CBA with the University.
 5   (Compl. ¶ 48, Exh. H.)
 6         By letter dated May 24, 2019, Smith asked the University to stop deducting fees
 7   from his paycheck. The University did not reply. (Compl. ¶¶ 49-50.)
 8                                         ARGUMENT
 9         “To survive a motion to dismiss” under Rule 12(b)(6), the allegations of the
10   complaint, “accepted as true,” must “state a claim to relief that is plausible on its face.”
11   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550
12   U.S. 544, 570 (2007)). A claim is plausible “when the plaintiff pleads factual content
13   that allows the court to draw the reasonable inference that the defendant is liable for
14   the misconduct alleged.” Id.
15         A motion to dismiss should be granted without leave to amend pursuant to Rule
16   12(b)(6) “‘if it appears beyond doubt that the plaintiff can prove no set of facts in
17   support of his claim which would entitle him to relief, construing the complaint in the
18   light most favorable to the plaintiff.’” Bain v. CTA, 891 F.3d 1206, 1211 (9th Cir.
19   2018) (quoting Edwards v. Marin Park, Inc., 356 F.3d 1058, 1061 (9th Cir. 2004)
20   (some internal quotation marks and citations omitted)).
21   I.    Count I Fails to State a Cause of Action Against the Union
22         Count I of the Complaint rather vaguely alleges that the Union’s collection of
23   dues and fees from Plaintiffs’ violates their rights under the First Amendment. The
24   claims contained here include: (1) the Union is violating Plaintiffs’ First and
25   Fourteenth Amendment rights by “requiring” them to pay dues (Compl. ¶ 73); (2) the
26   Union is violating Plaintiffs’ First and Fourteenth Amendment rights by requiring them
27   to “take additional steps” after resignation from the Union in order to cease continued
28   payment of fees to the Union (Compl. ¶ 74); and (3) the Union has violated, and is
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 1   violating, Plaintiffs’ First Amendment rights by collecting dues and fees from
 2   Plaintiffs without Plaintiffs providing “affirmative consent” (Compl. ¶¶ 75-79). None
 3   of these claims, as pleaded in the Count I, states a cause of action against the Union.
 4         A.     Count I Fails to State a Claim for Violation of Section 1983
 5         The First Amendment comes into play only if there is state action and that is not
 6   what Plaintiffs challenge here.
 7         To be sure, the First Amendment provides a right not to be compelled as a
 8   condition of public employment to join a union or to agree to pay its membership dues
 9   – that right was recognized in Abood v. Detroit Board of Education, 431 U.S. 209
10   (1977), long before the Supreme Court’s decision in Janus v. AFSCME Council 31.
11   But that right is not at issue here. Plaintiffs do not nor could they allege they were
12   compelled by their public employer to become members of the Union.
13         Thus, Plaintiffs challenge not state compulsion but instead only the terms of
14   their private voluntary membership agreements with the Union and the State’s
15   ministerial enforcement of those agreements, neither of which constitutes “state
16   action” for purposes of the First Amendment and section 1983. The membership
17   agreements involved here are those Plaintiff Smith entered into in 2006 (Compl. ¶¶ 43-
18   45) and in 2016 (Comp. ¶ 48, Exh. H), and that Plaintiff Jackson entered into in 2013
19   (Compl. ¶¶ 21, 24). (Jackson’s 2016 membership application, which he denies having
20   signed, is addressed separately below.)
21                1.     Section 1983 requires state action
22         “‘[M]ost rights secured by the Constitution are protected only against
23   infringement by governments.’” Ohno v. Yasuma, 723 F.3d 984, 993 (9th Cir. 2013)
24   (quoting Lugar v. Edmondson Oil Co., 457 U.S. 922, 936-37 (1982)). For that reason,
25   a plaintiff seeking to challenge the conduct of a private party under section 1983 must
26   show that “‘the conduct allegedly causing the deprivation of a federal right [is] fairly
27   attributable to the State,’” i.e. that the private party’s conduct is “state action.” Ohno,
28   723 F.3d at 993 (quoting Lugar, 457 U.S. at 936-37); see also Bain v. California
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 1   Teachers Ass’n, 156 F.Supp.3d 1142, 1149 (C.D. Cal. 2015) (same). If the action that
 2   plaintiffs challenge “is not so attributable, then there is no ‘state action’ and no
 3   violation” of the First Amendment. Ohno, 723 F.3d at 993.
 4         “The Supreme Court has established a two-part test to determine whether a
 5   plaintiff states a §1983 claim against a private actor.” Bain, 156 F.Supp.3d at 1149
 6   n.6. The first test asks “‘whether the claimed deprivation has resulted from the
 7   exercise of a right or privilege having its source in state authority.’” Id. (quoting
 8   Lugar, 457 U.S. at 939). The second asks whether, “‘under the facts of this case,
 9   respondents, who are private parties, may be appropriately characterized as “state
10   actors.”” Id. (quoting Lugar, 457 U.S. at 939). “Both elements under Lugar must be
11   met for there to be state action.” Collins v. Womancare, 878 F.2d 1145, 1151 (9th Cir.
12   1989) (citing Lugar, 457 U.S. at 937-39).
13         To satisfy the first prong, a plaintiff must show that “the deprivation of rights
14   [was] ‘caused by the exercise of some right or privilege created by the State or by a
15   rule of conduct imposed by the State or by a person for whom the State is
16   responsible.’” Id. (quoting Lugar, 457 U.S. at 937). “The second prong determines
17   whether the party charged with the deprivation could be described in all fairness as a
18   state actor.” Ohno, 723 F.3d at 994. Courts in this Circuit apply four tests to determine
19   whether the party can be described as a “state actor” under Lugar: “(1) the public
20   function test; (2) the joint action test; (3) the state compulsion test; and (4) the
21   governmental nexus test.” Bain, 156 F.Supp.3d at 1150 (citing Ohno, 723 F.3d at
22   995). The Ninth Circuit has explained that the “most relevant” tests are the “public
23   function” and “joint action tests,” as these tests “largely subsume” the other two.
24   Ohno, 723 F.3d at 995, 995 n.13. The “public function” test “treats private actors as
25   state actors when they perform a task or exercise powers traditionally reserved to the
26   government,” while the “joint action” test “focuses on ‘whether state officials and
27   private parties have acted in concert in effecting a particular deprivation of
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 1   constitutional rights.’” Ohno, 723 F.3d at 996 (quoting Tsao v. Desert Palace, Inc.,
 2   698 F.3d 1128, 1140 (9th Cir. 2012)).
 3                2.    The state’s ministerial processing of voluntary dues deductions
                        does not transform the Union’s private dues authorization
 4                      agreements into state action
 5         Because Plaintiffs’ joining the Union was not a condition of their public
 6   employment, and because the state did not determine the terms of Plaintiffs’ Union
 7   membership agreements, those private contractual terms do not involve “state action”
 8   subject to First Amendment scrutiny. Indeed, courts applying the Lugar state-action
 9   test have rejected section 1983 claims by voluntary union members challenging their
10   unions’ membership rules and policies on the ground that such union conduct does not
11   result from an exercise of state authority, as required under the first prong of the Lugar
12   test. See, e.g., Kidwell v. Transp. Commc’ns In’tl Union, 946 F.2d 283, 297-99 (4th
13   Cir. 1991); Bain, 156 F.Supp.3d at 1151-53; Farrell v. IAFF, 781 F. Supp.647, 649
14   (N.D. Cal. 1992). As the Fourth Circuit explained, “Where the employee has a choice
15   of union membership and the employee chooses to join,” neither the employee’s
16   membership nor the payment of dues is “coerced” by the state, for “[t]he employee is a
17   union member voluntarily.” Kidwell, 946 F.2d at 292-93 (4th Cir. 1991); cf. Farrell,
18   781 F. Supp. at 649-50 (following Kidwell and rejecting section1983 claims brought
19   by public sector union members for lack of state action).
20         The Bain decision is also instructive: In Bain, four public sector union members
21   sued their union, alleging that by offering members-only benefits to dues-paying
22   members, the union had pressured the plaintiffs to join and thus violated the First
23   Amendment. Bain rejected those claims, concluding that the terms of a voluntary
24   union membership agreement between a union and its public employee members do
25   not involve state action and thus are not subject to First Amendment challenge. 156
26   F.Supp.3d at 1147, 1152-53. The court reasoned that, unlike in cases involving
27   compulsory agency fees like Abood (and Janus), the conduct the plaintiffs there
28   challenged (the union’s offering of members-only benefits did not involve
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 1   “compulsion ... authorized by state law.” Id. at 1152. The plaintiffs were free to
 2   choose whether or not to enter into a contractual agreement with the union, and the
 3   plaintiffs could not “establish state action” based on the terms of their own voluntary
 4   agreements. Id. at 1153. The same is true here.
 5         As the Supreme Court has explained, moreover, “[t]hat the State responds to [a
 6   private party’s] actions by adjusting [its own conduct (here, by deducting dues)] does
 7   not render it responsible for those actions.” Blum v. Yaretsky, 457 U.S. 991, 1005
 8   (1982) (italics in original); see also, e.g., Knox v. Westley, No. 05-2198-MCE-KJM,
 9   2006 WL 2374763, at *3-5 (E.D. Cal. Aug. 16, 2006) (union members could not
10   challenge public sector union dues increase under section 1983 because union
11   relationship with voluntary members was not state action). The State Controller’s
12   “ministerial obligation to deduct dues” authorized pursuant to Plaintiffs’ voluntarily
13   entering into membership agreements with the Union “does not transform” the Union’s
14   membership policies “into state actions.” Bain v. CTA, 2016 WL 6804921, at *7 (C.D.
15   Cal. May 2, 2016), appeal dismissed as moot, 891 F.3d 1206 (9th Cir. 2018).
16         These holdings are consistent with Cohen v. Cowles Media Co., 501 U.S. 663
17   (1991), where the court did not conduct any constitutional “waiver” analysis to
18   determine whether the newspaper’s promise to its source was enforceable. There is no
19   First Amendment right to renege on otherwise enforceable obligations, so there was no
20   right that needed to be “waived.” Rather, the Court reasoned that the doctrine of
21   promissory estoppel simply “requires those who make certain kinds of promises to
22   keep them,” any obligations created by that doctrine are “self-imposed,” and the
23   application of promissory estoppel law therefore does not “offend the First
24   Amendment.” Cohen, 501 U.S. at 669-72. The same is true with respect to the
25   enforcement of Plaintiffs’ dues authorizations.
26         The Supreme Court’s reference in Janus to “waiving” First Amendment rights
27   does not require a different analysis. Janus did not involve the relationship between a
28   union and its voluntary members who affirmatively authorized dues deductions.
                                                                                               13
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 1   Rather, Janus involved state compulsion of non-members to pay union fees. None of
 2   the “waiver” cases cited in Janus involved the enforcement of obligations voluntarily
 3   and affirmatively undertaken in agreements between private parties.
 4
                  3.     Plaintiffs’ subjective belief that Union dues membership is
 5                       mandatory does not change the analysis
 6         Plaintiffs also allege that, even if the Union did not fraudulently induce them to
 7   agree to dues deduction, their agreements are nonetheless invalid because Plaintiffs
 8   subjectively believed that union membership was mandatory. That theory, too, fails
 9   for want of state action.
10         In Farrell, 781 F. Supp. at 649, the court rejected indistinguishable allegations
11   of personal lack of knowledge as insufficient to state a claim for compelled association
12   under section1983. In that case, the plaintiffs “insist[ed] they were compelled to join
13   [the Oakland firefighters’ union]” based “primarily [on] their personal ‘understanding’
14   or ‘belief’ that union membership was a condition of employment,” because they were
15   never “informed” of their right not to join. Id. Farrell concluded those allegations
16   were not “sufficient to prove plaintiffs were compelled to join” when, to the contrary,
17   the collective bargaining agreement at issue “clearly set[] out the option to refuse
18   union membership.” Id.
19         The same result is required here. California law explicitly provides that
20   Plaintiffs have the right to refrain from joining the Union as members and to refrain
21   from participating in the Union’s activities, California Government Code section 3565,
22   and forbids the Union from interfering with that right. Cal. Gov. Code §3571.1(b).
23   Plaintiffs’ bare allegations of their “personal ‘understanding’ or ‘belief’ that union
24   membership was a condition of employment,” Farrell, 781 F. Supp. At 649, are
25   woefully insufficient, in the face of section 3565, to plead that Plaintiffs’ membership
26   was unconstitutionally compelled by their public employer, as would be required to
27
28
                                                                                                 14
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 1   state a compelled association claim.1 See Cooley v. Cal. Statewide Law Enforcement
 2   Ass’n, 385 F. Supp. 3d 1077, 1081-82 (E.D. Cal. 2019) (ongoing dues obligations
 3   attributable to membership contract, not statute).
 4         Indeed, another district court within the Ninth Circuit held the “state-policy”
 5   requirement was not satisfied in addressing a claim very similar to the claim Plaintiffs
 6   set forth. In Belgau v. Inslee, 359 F. Supp. 3d 1000 (W.D. Wash. 2019) (appeal
 7   pending), the plaintiffs brought First Amendment claims under section1983
 8   challenging the deduction of union dues from their state-administered paychecks after
 9   they resigned their union memberships. The plaintiffs had signed membership cards
10   that included a “one-year dues payment commitment.” See id. at 1006, 1012.

11         The court held that the “state policy” requirement was not satisfied because “the

12
     Plaintiffs fail[ed] to show that the contents of the agreements are in any way
     attributable to the State,” noting that “the Union, a private entity, drafted the
13
     agreements and asked Plaintiff to sign them.” 359 F. Supp. 3d at 1012. As the court
14
     summarized: “At its core . . . the source of the alleged constitutional harm is the
15
     sufficiency of the agreements, not the procedure for their collection that the State
16
     agreed to follow. ‘The claimed constitutional deprivation cannot be traced to a right,
17
     privilege, or rule of conduct imposed by a governmental entity.’” Id. at 1012-13
18
     (quoting Ohno, 723 F.3d at 994); see also Cooley, 385 F. Supp. 3d at 1081-82 (finding
19
     no state action in materially similar challenge).
20
           In sum, Plaintiffs cannot show that the Union’s actions in collecting dues and
21
     fees from Plaintiffs pursuant to their respective membership contracts are “fairly
22
     attributable to the state.” Their claims brought to enforce First Amendment rights
23   therefore fail as a matter of law.
24
     1
25     That these allegations fail to make out a claim for relief under section 1983 does not
     leave Plaintiffs without a remedy; workers who contend a union violated their rights
26   under Government Code section 3565 to refrain from joining a labor organization or
     participate in their activities can present unfair practice charges to the Public
27   Employment Relations Board. See Cal. Gov. Code §3563; see also Collins, 878 F.2d
     at 1153 (wrongful act of private party not actionable under §1983 but would be
28   redressable under state law (citing Civil Rights Cases, 109 U.S. 3, 17 (1883)).
                                                                                                 15
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                  4.     That Plaintiff Jackson denies signing the 2016 membership
 1                       application does not cause a different result
 2         Plaintiff Jackson’s allegation that he did not sign the 2016 membership
 3   application/dues-deduction authorization must be accepted as true for purposes of this
 4   motion. But this does not change the result here; even if the Union has relied on an
 5   authorization Plaintiff did not sign to continue to collect fees after Jackson’s
 6   resignation from the Union in 2019, that conduct does not give rise to a section 1983
 7   cause of action.
 8         As noted above, the Supreme Court has established a two-part test to determine
 9   whether a plaintiff states a section 1983 claim against a private actor: (1) The first test
10   asks “whether the claimed deprivation has resulted from the exercise of a right or
11   privilege having its source in state authority;” and (2) whether, the private party
12   respondents may be appropriately characterized as “state actors.” Lugar, 457 U.S. at
13   939. Both elements must be met for there to be state action. Id. at 937-39).
14         To satisfy the first prong, a plaintiff must show that the deprivation of rights was
15   “caused by the exercise of some right or privilege created by the State or by a rule of
16   conduct imposed by the State or by a person for whom the State is responsible.” Id. at
17   937. Here, Jackson alleges that the Union in February 2019 refused his request to
18   terminate continued deduction of Union fees from his paychecks, relying on a fee-
19   deduction authorization Jackson did not sign. (Compl. ¶¶ 30-32, Exh. C.)
20         Collecting fees without employee authorization, however, would violate
21   California law. It would constitute a common law fraud violation. And it would also
22   violate that portion of SB 866 that authorizes deduction of union fees from public
23   employee paychecks only upon proper employee authorization. California
24   Government Code section 1153 authorizes the State Controller to deduct fees to be
25   forwarded to a union only upon the union certifying that it has “and will maintain an
26   authorization, signed by the individual from whose salary or wages the deduction or
27   reduction is to be made.” Moreover, collecting membership dues without
28   authorization would violate applicable labor relations law. Under the Higher
                                                                                                16
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 1   Education Employer-Employee Relations Act (which applies to the University),
 2   “[p]ublic employees ... have the right to refuse to join employee organizations or to
 3   participate in the activities of these organizations,” Cal. Gov. Code § 3502, and it is
 4   illegal for “employee organizations” to “Impose or threaten to impose reprisals on
 5   employees, to discriminate or threaten to discriminate against employees, or otherwise
 6   to interfere with, restrain, or coerce employees because of their exercise of [those]
 7   rights.” Cal. Gov. Code § 3571.1.
 8         Jackson’s allegation that the Union has collected fees from him without valid
 9   authorization, his allegation of illegal activity by a private party, is fatal to any claim
10   that depends on state action, because it forecloses the necessary first prong of the
11   Lugar test, which requires showing that the private action was carried out pursuant to
12   “state policy,” rather than contrary to state policy. Collins, 878 F.2d at 1151 (quoting
13   Roudybush v. Zabel, 813 F.2d 173, 176 (8th Cir. 1987)). It is axiomatic that “‘private
14   misuse of a state statute’” or other private conduct that violates state law “‘does not
15   describe conduct that can be attributed to the State.’” Collins, 878 F.2d at 1152
16   (quoting Lugar, 457 U.S. at 941); see also, e.g., Ouzts v. Maryland Nat’l Ins. Co., 505
17   F.2d 547, 553-54 (9th Cir. 1974) (en banc) (private party was not acting under color of
18   state law where an “applicable statute expressly prohibits and makes criminal” the
19   private party’s conduct)); Hassett v. Lemay Bank & Trust Co., 851 F.2d 1127, 1129-30
20   (8th Cir. 1988) (misuse of state statute by private actor not actionable under §1983);
21   Roudybush, 813 F.2d at 177 (same); Winterland Concessions Co. v. Trela, 735 F.2d
22   257, 262 (7th Cir. 1984) (same).
23         Thus, in Collins, where the plaintiffs argued that their constitutional rights were
24   violated when employees of Womancare placed them under citizens’ arrest without
25   following the California law that authorizes such arrests, the Ninth Circuit held that the
26   employees’ actions failed the first prong of Lugar because their actions “could not be
27   ascribed to any governmental decision; rather [the Womancare employees] were acting
28   contrary to the relevant policy articulated by the State.” Collins, 878 F.2d at 1153
                                                                                                   17
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 1   (quoting Lugar, 457 U.S. at 940) (emphasis added). And, in Lugar itself, the Supreme
 2   Court held that the plaintiff’s allegation that the private defendants unlawfully
 3   deprived the plaintiff of his property without due process failed to state a section 1983
 4   claim. 457 U.S. at 940. Lugar also held that the plaintiff’s claim alleging that the
 5   private parties had invoked a state statute maliciously or without valid grounds did not
 6   give rise to state action. Id. Instead, that claim amounted to nothing more than the
 7   private misuse or abuse of a state statute. Id. at 940-41.
 8         In this case, Jackson’s allegations regarding the 2016 membership application
 9   and dues/fees-deduction authorization, if proven, would show that the Union acted in
10   violation of state civil law to obtain money from him. Because plaintiff has,
11   accordingly, alleged that the Union was “acting contrary to the relevant policy
12   articulated by the State,” Collins, 878 F.2d at 1153 (quoting Lugar, 457 U.S. at 940)
13   (emphasis omitted), he fails to state claims under section1983. 2
14         Even if Plaintiff Jackson’s allegations of illegality were not fatal to his
15   section 1983 claim, which they are, Plaintiff’s section 1983 claims would also fail the
16   second prong of the Lugar test, which requires showing that “the party charged with
17   the deprivation could be described in all fairness as a state actor.” Ohno, 723 F.3d at
18   994. As discussed in detail above at II.A.2., the source of Plaintiff’s alleged harm was
19   not a state actor. “Unions are not state actors; they are private actors.” Hallinan v.
20   Fraternal Order of Police, Chicago Lodge No. 7, 570 F.3d 811, 815 (7th Cir. 2009).
21   There is no Controller or State policy that compels nonmembers to pay union dues.
22   Rather, the source of Plaintiff’s alleged harm is the Union’s reliance on a membership
23   card he allegedly did not sign, without the knowledge of any government officials, and
24   the Union’s continued request for dues deductions after he requested termination of the
25   deductions in January 2019.
26

27   2
      As noted in n. 1 above, that this allegation fail to make out a claim for relief under
28   section 1983 does not leave plaintiff without a remedy.
                                                                                               18
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 1         The mere fact that the State Controller transmitted dues payments to the Union
 2   as a result of the Union’s allegedly illegal conduct does not give rise to a section1983
 3   claim. See Blum v. Yaretsky, supra; Knox v. Westley, supra; and Bain v. Cal. Teachers
 4   Ass’n, supra.
 5
           B.     Plaintiffs Have No Viable Claim for Dues Collected Prior to Janus
 6
           Plaintiffs concede in their Complaint that they joined the Union as members;
 7
     Jackson in 2013, and Smith in 2006 and then again (with a new form) in 2016. Yet
 8
     both Plaintiffs seek through their Complaint a refund of dues collected by the Union,
 9
     retroactive to the commencement of their employment with the University, which was
10
     concurrent with their originally joining the Union as members. (Compl., Prayer for
11
     Relief, g.) We show below that Plaintiffs have no viable claim for such relief.
12
                  1.    Janus does not apply to members or member dues
13
           Plaintiffs argue, citing Janus v. AFSCME Council 31, that, although they joined
14
     the Union as members, they did so without affirmatively consenting to waive rights of
15
     free speech and freedom of association under the First and Fourteenth Amendments,
16
     union, and thus (Plaintiffs implicitly conclude), their acts of choosing to become
17
     members of the Union in 2006 and 2013 (and again, for Smith, in 2016), should be
18
     disregarded, and the dues they paid to the Union based on their actions joining the
19
     Union must be refunded. (Compl. ¶¶ 73-79.)
20
           Plaintiffs’ reliance on Janus, is misplaced because voluntary members have no
21
     claim under Section 1983 (or state law) for a Janus-related refund of union
22
     membership dues. Several courts have already concluded in rejecting claims seeking
23
     refunds of membership dues based on Janus, “Janus did not concern the relationship of
24
     unions and members; it concerned the relationship of unions and non-members.”
25
     Smith v. Bieker, 2019 WL 2476679, at *2 (N.D. Cal. June 13, 2019); accord
26
     O’Callaghan v. Regents of the Univ. of Cal., 2019 WL 2635585, at *3 (C.D. Cal. June
27
     10, 2019) (denying motion for preliminary injunction); Crockett v. NEA-Alaska, 367 F.
28
                                                                                               19
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 1   Supp. 3d 996, 1008 (March 14, 2019); Belgau v. Inslsee, 359 F. Supp. 3d 1000, 1016-
 2   17 (W.D. Wash. 2019); Cooley v. Cal. Statewide Law Enforcement Ass’n, 2019 WL
 3   331170, at *2-*3 (E.D. Cal. Jan. 25, 2019) (denying motion for preliminary injunction)
 4   and Cooley v. Cal. Statewide Law Enforcement Ass’n, 385 F. Supp.3d 1077 (E.D. Cal.
 5   2019) (granting motion to dismiss); Smith v. Superior Court, 2018 WL 6072806, at *1
 6   (N.D. Cal. Nov. 16, 2018) (denying motion for preliminary injunction).
 7         The Crockett court explained that members “made a decision to pay union
 8   membership dues in exchange for certain benefits: a right to vote in union elections
 9   and the ability to influence collective bargaining efforts,” and that this “voluntary
10   choice precludes an argument that they were compelled to subsidize the Union
11   Defendants’ private speech.” 367 F. Supp. 3d at 1008. Crockett rejected as
12   “unpersuasive” the plaintiffs’ “assertion that their union memberships were compelled
13   because they should have had the option to avoid union fees altogether, as Janus now
14   makes clear,” explaining that “[t]he fact that plaintiffs would not have opted to pay
15   union membership fees if Janus had been the law at the time of their decision does not
16   mean their decision was therefore coerced." Id.; accord Babb v. California Teachers
17   Ass’n, 2019 WL 2022222 (C.D. Cal. May 8, 2019) at *9; see also Kidwell v. Transp.
18   Commc’ns Intl Union, 946 F.2d 283, 292-93 (4th Cir. 1991) (“Where the employee has
19   a choice of union membership and the employee chooses to join, the union
20   membership money is not coerced. The employee is a union member voluntarily.”);
21   Farrell v. IAFF, 781 F. Supp. 647, 649 (N.D. Cal. 1992) (same).
22                2.     Plaintiffs’ claims for refund of pre-Janus dues are time barred
23         Plaintiffs’ claims that they are entitled to refund of the membership dues they
24   paid prior to tendering their resignations from the Union in 2019 are premised on the
25   argument that they were deprived of certain information that would have made their
26   decisions to join the Union in 2006 and 2013 (and, in the case of Smith, again in 2016)
27   constitutionally valid, and, they argue, since those decisions did not pass constitutional
28   muster, those decisions must now, in 2019, be set aside and Plaintiffs given restitution.
                                                                                                  20
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 1   But these claims are time-barred by the statue of limitations applicable to section 1983
 2   claims in California. In California, the section1983 statute of limitations is two years.
 3   See Jones v. Blanas, 393 F.3d 918, 927 (9th Cir. 2004). Yet the conduct Plaintiffs
 4   complain of, Defendant’s failure to apprise them of certain information that would
 5   have made their decision to join the Union constitutionally valid, happened well over
 6   two years before Plaintiffs filed this Complaint on July 30, 2019. Their section 1983
 7   claims that their decisions to join the Union were invalid are thus time barred and
 8   must, on this additional ground, be dismissed. See Bermudez v. SEIU Local 5, 2019
 9   WL 1615414, at *2 (N.D. Cal. April 16, 2019).
10                  3.   Janus has no retroactive application
11         Even if Plaintiffs’ claims for a refund of membership dues paid prior to their
12   resignation from Union membership did not fail because Janus does not apply to
13   membership dues, and did not fail because the claims are time-barred, and even if we
14   could somehow make Janus apply to members and not just non-member fee payers, the
15   claims, Janus does not apply retroactively, and thus forms no basis for Plaintiffs’ claim
16   for refunds.
17         Put simply, the claim for refunds is barred because the Union acted in good faith
18   reliance on state statute and controlling U.S. Supreme Court precedent in collecting
19   pre-Janus dues from members and fair-share fees from non-members. See Danielson
20   v. AFSCME Council 28, 340 F.Supp.3d 1083, 1085-86 (W.D. Wash. 2018) (unions not
21   retrospectively liable under §1983 for collecting pre-Janus fair-share fees in
22   accordance with state law); see also Crockett v. NEA-Alaska, 367 F. Supp. 3d 996,
23   1003-1007 (D. Alaska 2019) (appeal filed) (same); Carey v. Inslee, 364 F.Supp.3d
24   1220, 1227-1232 (W.D. Wash. 2019) (appeal filed) (same); Janus v. AFSCME Council
25   31, 2019 WL 1239780, at *1-3 (N.D. Ill. Mar. 18, 2019) (appeal filed) (same); Cook v.
26   Brown, 364 F. Supp. 3d 1184, 1190-1194 (D. Or. 2019) (appeal filed) (same); Mooney
27   v. Illinois Educ. Ass’n, 2019 WL 1575186, at *2-11 (C.D. Ill. Apr. 11, 2019) (appeal
28   filed) (same); Hough v. SEIU Local 521, 2019 WL 1785414, at *1 (N.D. Cal. Apr. 16,
                                                                                                21
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 1   2019) (same); Babb v. California Teachers Ass’n, 2019 WL 2022222 (C.D. Cal. May
 2   8, 2019) at *5-9 (same); Bermudez v. SEIU Local 5, 2019 WL 1615414, at *2-3 (N.D.
 3   Cal. April 16, 2019) (same); Diamond v. Pa. State Educ. Ass’n, 2019 WL 2929875
 4   (W.D. Pa. July 8, 2019) (same); Cooley v. Cal. Statewide Law Enf. Ass’n, 385 F. Supp.
 5   3d 1077, 1080-81 (E.D. Cal. 2019) (same).
 6
     C.    Plaintiff Smith Remains Bound By the Terms of His 2016 Membership
 7         Agreement
 8         Even if the Union acted under color of state law when it decided to enforce the
 9   dues/fees authorization provisions in Plaintiff Smith’s 2016 membership contract, the
10   Union did not commit any constitutional violation in doing so. That is because
11   Plaintiff voluntarily authorized dues to be deducted from his paychecks through
12   payroll deduction, with a limited period of revocability, in exchange for receiving the
13   benefits of union membership. Under Supreme Court precedent, contracts such as this
14   – in which a party forgoes a First Amendment right in exchange for consideration – are
15   facially valid. Plaintiff Smith cannot maintain an action for violation of section 1983
16   and common-law torts based on the Union’s enforcement of a valid contract.
17        Plaintiff Smith signed a membership contract in 2016 that contains a dues-
18   deduction authorization expressly stating that the authorization was “voluntary and not
19   a condition of my employment” and would remain in effect “regardless of whether I
20   am or remain a member of the Union” unless the authorization was revoked during an
21   annual window period preceding the anniversary date of signing the membership
22   contract or the termination date of a CBA between Local 2010 and the University.
23        At the time of this writing, four district courts in the Ninth Circuit as well as the
24   Ninth Circuit itself have rejected materially identical challenges to post-membership
25   dues deductions in the face of similar binding membership contracts. See Anderson v.
26   Service Empl. Int’l Union Local 503, 2019 WL 4246688, at * 2 (D. Or. Sept. 4, 2019);
27   Seager v. United Teachers Los Angeles, 2019 WL 3822001, at *2 (C.D. Cal. Aug. 14,
28   2019); Cooley v. Cal. Statewide Law Enforcement Ass’n, supra, 385 F. Supp. 3d at
                                                                                               22
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 1   1079-80; Smith v. Bieker, 2019 WL 2476679, at *2 (N.D. Cal. June 13, 2019); Fisk v.
 2   Inslee, 2018 WL 6620080 at *3-4 (9th Cir. Dec. 17, 2018); cf. Belgau v. Inslee, 359 F.
 3   Supp. 3d 1000, 1017 (W.D. Wash. 2019) (“[I]t is not unjust for [Plaintiffs] to have to
 4   continue to pay dues for a limited time because that is what they agree to.”).
 5         It is well-established that “the First Amendment does not confer ... a
 6   constitutional right to disregard promises that would otherwise be enforced under state
 7   law.” Cohen v. Cowles Media, supra, 501 U.S. at 672. In Cohen, the Supreme Court
 8   rejected a claim that the First Amendment prohibited enforcement of a newspaper’s
 9   promise not to reveal the identity of a confidential source. Id. at 666-70. The Court
10   recognized that the doctrine of promissory estoppel simply “requires those who make
11   certain kinds of promises to keep them,” id. at 672, and, therefore, that the application
12   of state promissory estoppel law to the newspaper’s promise did not “offend the First
13   Amendment.” Id. at 669.
14         Cohen controls here because the State’s policy is simply to enforce Plaintiffs’
15   own affirmative agreements to dues deduction. In granting summary judgment for the
16   defendants against claims analogous to those here, a district court explained:
17                The freedom of speech and the freedom of association do not
                  trump the obligations and promises voluntarily and
18                knowingly assumed. The other party to that contract has
                  every reason to depend on those promises for the purpose of
19                planning and budgeting resources. The Constitution says
                  nothing affirmative about reneging legal and lawful
20                responsibilities freely undertaken.
21         Fisk v. Inslee, 2017 WL 4619223 at *5 (W.D. Wash. Oct. 16, 2017) (“Fisk I”).
22   The Ninth Circuit affirmed Fisk I in a memorandum disposition, holding that the
23   public employer’s “deduction of union dues in accordance with the membership cards’
24   dues irrevocability provision does not violate [the employees’] First Amendment
25   rights.” Fisk v. Inslee, 2018 WL 6620080 at *3 (9th Cir. Dec. 17, 2018) (“Fisk II”).
26         Cohen is dispositive because Smith’s 2016 membership agreement is a binding
27   contract under state law. See Smith, 2018 WL 6072806, at *1 (plaintiff who signed
28   membership agreement “formed a contract with [the union]); Belgau, 2018 WL
                                                                                              23
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 1   4931602, at *5 (“Plaintiffs entered into a contract with the Union to be Union members
 2   and agreed in that contract to pay Union dues” for a specified period); Fisk I, 2017 WL
 3   4619223, at *4 (signed card with dues authorization agreement was “valid contract”);
 4   Cooley, 2019 WL 33117, at *3 (same).
 5         It is well-established that dues authorization agreements can create binding
 6   financial obligations that survive an employee’s resignation from the union. See, e.g.,
 7   NLRB v. U.S. Postal Serv., 833 F.2d 1195, 1196 (6th Cir. 1987) (dues authorization not
 8   revocable despite resignation); United Steelworkers of America, Local 4671 (National
 9   Oil Well, Inc.), 302 NLRB 367, 368 (1991) (dues were still owed after employee’s
10   resignation where employee “clearly authorized the continuation of his dues deduction
11   even in the absence of union membership”). The Ninth Circuit has explained that a
12   “dues-checkoff authorization is a contract,” and “[a] party’s duty to perform even a
13   wholly executory contract is not excused merely because he decides that he no longer
14   wants the consideration for which he has bargained.... [T]he clear ‘legal import’ of the
15   authorization’s language ... b[i]nd[s] the employee to abstain from revoking the
16   authorization,” even after he resigns. NLRB v. U.S. Postal Serv., 827 F.2d 548, 554
17   (9th Cir. 1987); see also Belgau, 2018 WL 4931602, at *5 (“[A] worker can refuse to
18   associate with or join a union. That is her prerogative. But, once she joins voluntarily,
19   in writing, she has the obligation to perform the terms of her agreement.”) (quoting
20   Fisk I, 2017 WL 4619223, at *5); Smith, 2018 WL 6072806, at *1 (same).
21         The language in Plaintiff Smith’s 2016 membership agreement demonstrates his
22   assent to the exact deductions the now challenges. For example, Plaintiff Smith
23   promised:
24                This voluntary authorization and assignment shall be
                  irrevocable, regardless of whether I am or remain a member
25                of the Union, for the duration of the existing memorandum of
                  understanding if any, between the Employer and the Local
26                Union … This authorization is voluntary and is not
                  conditioned on my present or future membership in the
27                Union.
28
                                                                                               24
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 1   (Compl. ¶48, Exh. H.) Nothing in the First Amendment or in the Supreme Court’s
 2   decision in Janus serves to relieve Smith from his obligations under this contract.
 3   II.   Count II Fails to State a Cause of Action
 4         The gravamen of Count II is found in Paragraphs 91 and 92 of the Complaint,
 5   where Plaintiffs allege:
 6                91. Because Janus requires a public employer to secure an
           employee’s affirmative consent for all union paycheck deductions, UCSD
 7         has a First Amendment obligation to provide sufficient information to
           employees about their Janus rights.
 8
                 92. The Gag Rule statutes [SB 866] violates Plaintiffs’ First
 9         Amendment right to receive the information necessary to make the clear
           and affirmative waiver to financially support as union, as required by
10         Janus.
11         Just what portion of SB 866 Plaintiffs are invoking here is not clear. To the
12   extent any portion of SB 866 might be read as forbidding the University from
13   providing employees information about union membership, it might be California
14   Government Code section 3550 That statue reads as follows:
15                A public employer shall not deter or discourage public
                  employees or applicants to be public employees from
16                becoming or remaining members of an employee
                  organization, or from authorizing representation by an
17                employee organization, or from authorizing dues or fee
                  deductions to an employee organization. This is declaratory
18                of existing law.
19         The allegations in Count II fail to state a cause of action for several reasons.
20         First, the assertion that Janus compels the State to provide certain unspecified
21   information to Plaintiffs is simply wrong. Nothing in Janus so provides. Indeed,
22   nothing in the First Amendment compels the government to speak. The Supreme
23   Court has specifically stated that, in the context of labor relations, “the First
24   Amendment does not impose any affirmative obligation on the government to listen
25   [or] respond” to employees. Smith v. Arkansas State Highway Employees, 441 U.S.
26   463, 465 (1979). See also, Minn. State Bd. for Cmty. Colls. v. Knight, 465 U.S. 271,
27   273 (1984) (nothing in the First Amendment suggests that the rights to speak,
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 1   associate, and petition require government policymakers to listen or respond to
 2   individuals’ communications on public issues).
 3         Second, it is not at all clear that section 3550 can be read as forbidding the
 4   University from providing, if it so chooses, any information to Plaintiffs about what
 5   the Janus decision means to them vis-à-vis their Union membership. The California
 6   Public Employment Relations Board (“PERB”) has initial jurisdiction to determine
 7   violations of section 3550, and it is PERB, not this court, that should make the initial
 8   determination on whether section 3550 is to be read in the manner Plaintiffs suggest.
 9   See Leek v. Washington Unified Sch. Dist., 124 Cal.App.3d 43, 51-54 (1981); Link v.
10   Antioch Unified Sch. Dist., 142 Cal. App. 3d 765, 769 (1983) (“Looking beyond the
11   constitutional label given to plaintiffs’ grievances herein … the substance of conduct
12   complained of may also constitute unfair practices which arguably could be resolved
13   by a PERB ruling.”).
14         Third, Plaintiffs have alleged no actual harm resulting from the alleged
15   prohibition on the University speaking to them about the law surrounding union
16   membership in the public sector, and they thus have no standing to complain about SB
17   866. Notwithstanding whatever SB 866 has allegedly prevented the University from
18   saying to Plaintiffs following issuance of the Janus decision, both Plaintiffs, following
19   Janus, tendered to the Union their resignations from Union membership (which were
20   immediately accepted) and their demands that Union fees no longer be deducted from
21   their paychecks (which the Union rejected). Plaintiffs allege no information that the
22   University did not provide them, and it is hard to imagine any information that the
23   University could provide them, that would have prompted a different response from
24   the Union.
25         Under Article III of the U.S. Constitution, the judicial power is limited to
26   “Cases” and “Controversies.” That a plaintiff must have standing to sue is “rooted in
27   the traditional understanding of a case or controversy.” Spokeo, Inc. v. Robins, 136 S.
28   Ct. 1540, 1548 (2016). To have Article III standing, a plaintiff must have “an actual
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 1   injury traceable to the defendant and likely to be redressed by a favorable judicial
 2   decision.” Lewis v. Cont’l Bank Corp., 494 U.S. 472, 477 (1990). An injury for the
 3   purposes of Article III must be “concrete, particularized, and actual or imminent.”
 4   Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 149 (2010). For an injury to be
 5   concrete and particularized, it must cause real harm that affects the plaintiff in a
 6   personal and individual way. See Spokeo, 136 at 1548 (citations omitted).
 7          Plaintiffs have alleged no “actual injury” flowing from SB 866’s alleged
 8   prohibition on the University providing Plaintiffs information about the Janus decision,
 9   and thus they have no standing to bring the claim found in Count II of their Complaint.
10   III.   Count III Fails to State a Cause of Action
11          Count III is a slight variation on Count II. In this Count, Plaintiffs allege that
12   SB 866 interferes with their First Amendment rights by prohibiting Plaintiffs from
13   speaking to the University. Specifically, in Paragraphs 104 and 104 of the Complaint
14   Plaintiffs allege:
15                 104. Public employee’s First Amendment waivers cannot be
            “freely given” unless they first know that they possess and may freely
16          exercise that right.
17                105. Under the Gag Rule statutes [SB 866], public employees are
            prohibited from speaking to their own employers about their First
18          Amendment rights recognized by the Janus decision and their ability to
            exercise those rights.
19
            Again, the Complaint does not specify what portions of SB 866 Plaintiffs intend
20
     to invoke as the basis of their claim. But it would appear likely that the intended
21
     reference is to California Government Code section 1157.12(b), which provides that
22
     public employers that administer payroll deductions shall:
23
                   (b) Direct employee requests to cancel or change deductions
24                 for employee organizations to the employee organization,
                   rather than to the public employer. The public employer shall
25                 rely on information provided by the employee organization
                   regarding whether deductions for an employee organization
26                 were properly canceled or changed, and the employee
                   organization shall indemnify the public employer for any
27                 claims made by the employee for deductions made in
                   reliance on that information. Deductions may be revoked
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                                                                                                 27
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                  only pursuant to the terms of the employee’s written
 1                authorization.
 2         The allegations in Count III fail to state a cause of action for the following
 3   reasons.
 4         First, Plaintiffs’ allegations about the impact of this statute on their freedom to
 5   speak to the University are simply wrong. The statute does not prevent Plaintiffs from
 6   saying anything they wish to say to the University. The statute instead simply sets up a
 7   procedure to follow for Plaintiffs when they want to “cancel or change deductions” for
 8   the Union; specifically, they are to take that request to the Union. Nevertheless, the
 9   statute does not prevent Plaintiffs from saying to the University that they wish to
10   cancel or change Union deductions. Instead the statue prevents the University from
11   acting on such statements in order to change or cancel Union deductions. Thus the
12   statute’s impact on the University in no way impacts Plaintiffs’ free speech rights.
13         Second, for the same reasons as discussed above with respect to Count II,
14   Plaintiffs have alleged no “actual injury” arising from their alleged inability to speak to
15   the University, and they thus lack standing to make the claims found in Count III.
16   Specifically, Plaintiffs admit that they spoke to the University about their wish to
17   resign from the Union and to stop deductions (Compl. ¶¶ 27, 33, 49), and they have not
18   alleged that anything contained in SB 866 prevented them from saying anything they
19   wished to the University.
20   IV.   Counts IV and V Fail to State a Cause of Action
21         Count IV alleges that SB 866 violates Plaintiffs’ Fourteenth Amendment
22   procedural due process rights, and Count V alleges that SB 866 violates Plaintiffs’
23   Fourteenth Amendment substantive due process rights.
24         The gravamen of the claim in Count IV is found at Paragraph 126, where
25   Plaintiffs allege that money “deducted in reliance on union assertions regarding
26   employee waivers as required by the Gag Rule statutes [SB 866] violates public
27   employees’ rights to procedural due process.”
28
                                                                                                 28
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 1         The gravamen of the claim in Count V is found in two paragraphs. First, in
 2   Paragraph 138, Plaintiffs allege that, pursuant to SB 866, the “sole means provided by
 3   law for public employees to obtain information regarding their First Amendment rights
 4   recognized by Janus requires them to consult a private third-party (the union).”
 5   Second, in Paragraph 145, Plaintiffs allege that the SB 866 statutes “create a
 6   fundamentally unfair, biased procedure for exercising public employees’ First
 7   Amendment rights to terminate support for a union that violates public employees’
 8   rights to substantive due process.”
 9         Plaintiffs do not clearly allege what protected interest the University has
10   deprived them of, or what process is due them, and on this basis Counts IV and V do
11   not state a cause of action.
12         In any event, it would appear that the thrust of Plaintiffs’ claim here is an attack
13   on the procedures established under California Government Code section 1157.12. As
14   noted above, section 1157.12 instructs the University to refer Plaintiffs’ requests
15   regarding cancelation of or changes in Union deductions to the Union, and directs the
16   University to rely on the Union’s certification as to whether Plaintiffs have or have not
17   authorized continued Union deductions. From this, Counts IV and V appear to draw
18   two conclusions that fundamentally underpin these claims, both of which are wrong.
19         First, Plaintiffs conclude that section 1157.12 prevents them from obtaining
20   “information regarding their First Amendment rights recognized by Janus” from any
21   source other than the Union. This is simply not true, and represents a gross misreading
22   of the statute. Nothing in section 1157.12 prevents Plaintiffs from obtaining
23   information about their “Janus rights” from any number of sources, including their
24   sponsor in this action, the Pacific Legal Foundation. In addition, notwithstanding
25   Plaintiffs’ misreading of section 1157.12 and section 3550, nothing in the SB 866
26   statutes would appear to prevent the University, if it so choose, of advising Plaintiffs
27   about their “Janus rights.”
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                                                                                                29
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 1         Second, Plaintiffs conclude that section 1157.12 completely forecloses the
 2   University from ever examining whether the Union has truthfully and correctly
 3   represented that Plaintiffs have on file with the Union valid authorizations for the
 4   deduction of Union fees. But this argument ignores an important provision in section
 5   1157.12(a). Specifically, that statute provides in part: “An employee organization that
 6   certifies that it has and will maintain individual employee authorizations shall not be
 7   required to provide a copy of an individual authorization to the public employer unless
 8   a dispute arises about the existence or terms of the authorization.” (Emphasis added.)
 9   Thus, the statute explicitly calls for the University to step into the process, and to
10   obtain a copy of the authorization the Union is relying on to demand Union deductions,
11   if there is a dispute “about the existence or terms of the authorization.” This
12   opportunity for public employer review of the authorization process completely
13   undercuts any argument that the process for public employees to cancel or change their
14   Union deductions established by section 1157.12 violates either Plaintiffs’ procedural
15   or substantive due process rights.
16         Furthermore, if the Union is untruthfully or incorrectly certifying to the
17   University that Plaintiffs have authorized Union deductions, or if the University is
18   making deductions in contravention of the Union’s certification or in disregard of plain
19   evidence regarding the absence of an authorization, Plaintiffs would have a remedy at
20   state law. See, e.g., Renken v. Compton City Sch. Dist., 207 Cal. App. 2d 106 (1962)
21   (writ of mandate available to enforce California Government Code sections 1157.1 and
22   1157.3). In these circumstances, Plaintiffs’ bare assertion that they have no adequate
23   remedy at law is insufficient for the showing that state remedies are defective
24   necessary to a due process claim such as this one. Hudson v. Palmer, 468 U.S. 517,
25   533 (1984).
26         Finally, for reasons already addresses at length above, Counts IV and V do not
27   contain allegations that Plaintiffs have suffered an “actual injury” by operation of SB
28
                                                                                                   30
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 1   866, and thus Plaintiffs do not have standing to bring the claims contained in Counts
 2   IV and V.
 3                                      CONCLUSION
 4         For the reasons stated above, and based on the record as a whole, Teamsters
 5   Local 2010 respectfully requests the Court to grant this Motion to Dismiss.
 6

 7   Dated: September 27, 2019              BEESON, TAYER & BODINE, APC

 8
                                            By:        /s/ Andrew H. Baker
 9                                               ANDREW H. BAKER
                                            Attorneys for Teamsters Local 2010
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